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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
                 v.
                                                          1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

         Defendant.


  DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY IN
       SUPPORT OF ITS MOTION IN LIMINE TO EXCLUDE EVIDENCE

        Defendant Concord Management and Consulting LLC (“Concord”), by and through

undersigned counsel, submits this Reply in Support of its Motion In Limine To Exclude Evidence.

        The government concedes that it does not intend to offer the following evidence in its case-

in-chief: (1) that the Russian government sponsored the conspiracy alleged in the Superseding

Indictment (“Indictment”); (2) regarding any sanctions imposed by the Department of Treasury,

Office of Foreign Assets Control or any other agency on Concord or any of the other Defendants

in this case; or (3) alleged conduct after January 2018. Notwithstanding the government’s

agreement not to offer the above-referenced evidence, Concord respectfully requests that the Court

issue an order specifically precluding the presentation of any such evidence or argument relating

to these issues. Such an order would properly cement the parties’ positions, and prevent any

potential confusion or surprise at trial.

        As to the evidence that remains in dispute, the government fails to show that the evidence

Concord seeks to exclude is relevant, and even if relevant, that its probative value outweighs the

danger of unfair prejudice to Concord. Accordingly, Concord respectfully submits that its Motion

be granted in its entirety.



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                                          ARGUMENT

       1.      The Government Should Be Precluded From Offering Evidence or Argument
               Linking Concord Or Any Of Its Alleged Co-Conspirators To The Russian
               Government

       As noted above, the government concedes that it does not intend to introduce evidence in

its case-in-chief that the Russian government sponsored the alleged conspiracy, which is all that

Concord sought in its Motion. Opp. 3. But the government then complicates matters by asserting

that “Concord appears to be asking for more,” arguing that Concord’s request could even include

corporate registration documents filed with a Russian government agency. Id. But no rational

reading of Concord’s Motion could lead to this conclusion. To be clear, Concord’s Motion is

limited to a connection between the Russian government and the alleged conspiracy, not every

incidental mention of the country or government of Russia. In particular, Concord does not oppose

the government’s proffer that it be allowed to introduce limited evidence for the purpose of proving

the identities of the alleged co-conspirators and the connections between them. However, any

evidence that is beyond incidental references to the Russian government should be expressly

excluded.

       2.      The Government Should Be Precluded From Offering Evidence Or Argument
               Referring To Defendant Yevgeniy Prigozhin As “Putin’s Chef,” Or “Putin’s
               Cook” During Trial Because It Is Irrelevant, Unfairly Prejudicial And
               Misleading

       Again the government takes a straightforward request and makes it overly complicated.

Here, Concord sought an order that the government be precluded from offering evidence or

argument referring to Mr. Prigozhin as “Putin’s Chef,” “Putin’s Cook,” or an “Oligarch.” Such

evidence would provide the government with a backdoor to suggest to the jury that the Russian

government sponsored the activity alleged in the Indictment. In opposition, the government takes

positions regarding “Prigozhin’s various nicknames,” including simply “boss” or “chief.” Opp. 6.

But Concord did not seek relief as to any and all possible nicknames, just the ones that carry with

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them the prejudicial association with the Russian government. By proposing the redaction of the

word “Putin” from its evidence, the government appears to acknowledge that Concord’s request is

appropriate. Id. 6.

         With respect to the specific monikers “Putin’s Chef” and “Putin’s Cook,” the government

argues they are relevant because they were “‘not solely used by the media,’ but were also used by

members of the conspiracy and by an unwitting American.” Id. 7. This argument is misleading at

best. Contrary to the government’s suggestion, there is no evidence in the exhibits identified by

the government indicating that either co-conspirators or unwitting Americans referred to Mr.

Prigozhin as “Putin’s Chef” or “Putin’s Cook.”1 The only specific exhibits the government refers

to are                                                                                 . Id. at 6.2

The government argues that “taken together with evidence that one of [Mr.] Prigozhin’s nicknames

is ‘Putin’s Chef,’ the images are probative of the allegation that [Mr.] Prigozhin led and oversaw

the IRA.” Id. Setting aside the absurdity of this for now, because these           do not contain

any reference to the nickname “Putin’s Chef,” evidence of that nickname—as opposed to the

nickname “chef”—is entirely unnecessary for the government to attempt to draw this connection.

         As Concord accurately represented in its Motion, the nicknames “Putin’s Chef” and

“Putin’s Cook” were in fact coined and subsequently grossly overused by the media simply

because Concord provided catering services to the Russian government. The media stories had

the effect of sensationalizing and exaggerating Mr. Prigozhin’s alleged connection with the




1
 Concord is referring to the exhibit lists proffered by the government on January 6, 2020, January
9, 2020, and on January 17, 2020.
2
 Moreover, there is not a single document in the nearly four million documents produced by the
government in discovery in which a defendant or unindicted co-conspirator referred to Mr.
Prigozhin as “Putin’s Chef” or “Putin’s Cook.”

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Russian government.3 They bear no relevance to the alleged conspiracy and hold no relationship

to the acts charged, and, thus, should be excluded. United States v. Brown, 5 F. Supp. 3d 876, 788

(E.D. Va. 2014) (holding that alias should not be admitted as relevant evidence unless it bears a

relationship to the acts charged).

       Even if “Putin’s Chef” and “Putin’s Cook” are somehow relevant—which they are not—

“a trial court should consider seriously whether the probative value is substantially outweighed by

any danger of unfair prejudice . . . and whether introduction of the nickname is truly needed to

identify the defendant, connect him with the crime, or prove some other matter of significance.”

United States v. Farmer, 583 F.3d 131, 135 (2d Cir. 2009). Here the risk of misleading and

confusing the jury and of unfairly prejudicing Concord is particularly objectionable in light of the

limited probative value of the monikers “Putin’s Chef” or “Putin’s Cook.”         The government

concedes that it has no intention to use these monikers to either suggest that Russian President

Vladimir Putin was in any way involved in the conspiracy or to distinguish Mr. Prigozhin from

any other men with a similar name, but wants to use this evidence to show Mr. Prigozhin’s

controlling role at Concord, and his connection to the IRA and its activities. Opp. 7. However,

the government’s suggestion that “Putin’s Chef” moniker somehow demonstrates Mr. Prigozhin’s

executive role at Concord is absurd, especially considering that Mr. Prigozhin’s role and title can

be established through other evidence that does not carry the improper association to the Russian

government. Likewise, the alleged depiction of Mr. Prigozhin

                  may be sufficiently established by the neutral fact that Concord is an entity


3
 Overhyped: How “Putin’s Chef” Became One of the Most Influential People in Russia, Carnegie
Moscow Center (Feb. 19, 2019) available at https://carnegie.ru/commentary/78390 (noting that the
Western media’s fascination with Prigozhin’s moniker, “Putin’s chef,” only serves to further
emphasize his closeness to the Russian president and that “Prigozhin’s role has been grossly
exaggerated and mythologized” by the media).



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engaged in a restaurant and catering business instead of the highly prejudicial and confusing

“Putin’s Chef” moniker. And while Concord disputes the government’s assertion that there was

any conspiracy or improper connection between Mr. Prigozhin and IRA, to the extent such

connection exists, it should be proven by less prejudicial evidence like correspondence, transaction

documents, or means other than a media-coined moniker.

       Finally, there is no question that identifying someone as “Putin’s Chef” or “Putin’s Cook”

is highly and unfairly prejudicial. As mentioned in Concord’s Motion, were the government

allowed to refer to Mr. Prigozhin as “Putin’s Chef” or “Putin’s Cook” at trial, the jury would

undoubtedly draw the inference that Mr. Prigozhin (and by extension, Concord) acted on behalf

of, or is somehow associated with Vladmir Putin (and by extension, the Russian government), the

exact thing that the government explicitly says it will not prove. Considering the obvious bias

against the Russian government and Vladimir Putin, such evidence would impermissibly and

implicitly suggest a link between Concord and the Russian government and would severely

prejudice Concord at trial because of the massive number of news stories and the Mueller Report

claiming that Russia interfered in the 2016 U.S. election.

       3.      The Government Should Be Precluded From Offering Evidence Or Argument
               Of Defendants’ Alleged Involvement In Election Interference In Other
               Countries

       The government conjures up a convoluted explanation as to how IRA’s alleged “election

interference” activities in other countries—which are not only unproven, but also not alleged in

the Indictment—supposedly connects Mr. Prigozhin to the IRA and its activities.




                          . Opp. 8-9.




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           to defraud the United States. Id. at 9. In particular, the government intends to introduce

this evidence to show that Mr.



         Id. The government attempts to salvage this irrelevant and impermissible propensity

evidence by arguing that it intends to introduce it to prove that

                                                                               Id. This attempt fails

because mentioning                                            does not make the description of the

meeting, or of Mr. Prigozhin’s role in it, any more or less significant. That is, even if true,

                                                              is irrelevant to the allegations in the

Indictment of activities of IRA directed at U.S. government agencies. Regardless of the reasons

why the government intends to introduce particular evidence, the Court must nevertheless balance

that evidence against the danger of unfair prejudice to Concord. United States v. Bowie, 232 F.3d

923, 930 (D.C. Cir. 2000) (citing Old Chief v. U.S., 519 U.S. 172, 179 (1997) (relevant evidence

inadmissible under Rule 403 if it is “unfairly prejudicial, cumulative or the like, its relevance

notwithstanding”). For all the reasons stated in Concord’s Motion, references to unproven and

irrelevant allegations that Defendants engaged in “election interference” activities in other

countries is highly prejudicial and should be excluded on that basis.

       What is more, the probative value and unfair prejudice of an item of evidence “may be

calculated by comparing evidentiary alternatives,” and “[t]he probative worth of any particular bit

of evidence is obviously affected by the scarcity or abundance of other evidence on the same

point.” Old Chief, 519 U.S. at 184-85 (quoting 22 Wright & Graham, Federal Practice &

Procedure: Evidence § 5250 (1978)); see also id. at 183 (observing that “a judge applying Rule

403 could reasonably apply some discount to the probative value of an item of evidence when

faced with less risky alternative proof going to the same point”); see also Fed. R. Evid. 403,


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Advisory Committee Notes, 1972 Proposed Rules (noting that “[i]n reaching a decision whether

to exclude on grounds of unfair prejudice . . . [t]he availability of other means of proof may also

be an appropriate factor”).

       4.      The Government Should Be Precluded From Offering Prejudicial Evidence
               Or Argument Of Lawful Conduct At Trial

       In its Motion, Concord asked the Court to preclude the government from introducing

evidence and argument related to lawful conduct, such as posted content related to social issues or

purchased advertisements that constitute permissible issue advocacy, on the grounds that such

evidence is irrelevant and would be prejudicial. In its Opposition, the government states its

intention to introduce evidence of Facebook and Twitter accounts controlled by alleged co-

conspirators which were allegedly “related to the conspirators’ overarching goal of sowing discord

in the American political system and favoring one candidate over another.” Opp. 15. The

government contends the question of whether these advertisements were actually independent

expenditures that trigger FECA’s disclosure requirement and prohibition on foreign independent

expenditures is a question for the jury to decide. Id. But as Concord has previously pointed out,

whether a particular advertisement is properly categorized as an independent expenditure that

expressly advocates for the election or defeat of a clearly identified federal candidate under FECA

is a highly fact-specific legal analysis and, in some cases, one in which the FEC itself is unable to

make. See ECF 181 at 12-14 (identifying advertisements that mention a candidate by name and

criticize that candidate but were not determined by the FEC to be express advocacy and identifying

instances where the FEC could not make the determination). Yet here, the government wants to

introduce this evidence and have the jury decide these issues, which will only cause prejudice,

confusion, and undue delay.

       The government’s arguments miss the point for another reason as well. By arguing that

this evidence is relevant to Defendants “goal of sowing discord in the American political system,”

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the government once again attempts to frame this case as a prosecution for “election interference”

even though “election interference” is not a crime that has been—or can be—charged against

Concord. The completely lawful actions of the IRA in posting content that would not have

triggered any reporting or registration obligations cannot be relevant to a conspiracy to defraud

three specific U.S. agencies. Instead, the government seeks to use the proverbial throw all the stuff

up against the wall and see what sticks. This will create massive confusion for the jury in

attempting to determine what activity, if any, created a filing, registration, or disclosure

requirement on any of the defendants.

       The government suggests that evidence of posted content or advertisements that constitute

permissible issue advocacy is relevant to establishing intent or motive. Opp. 11. The government

does not explain how this evidence would be probative of intent or motive to defraud three specific

government agencies, but even if it were, the Court must nevertheless weigh its probative value

against the potential for prejudice. Bowie, 232 F.3d at 930 (“[c]ompliance with Rule 404(b) does

not itself assure admission of the other crimes evidence . . . the court may exclude [] evidence . . .

that it is unfairly prejudicial, cumulative or the like, its relevance notwithstanding”). As discussed

in Concord’s Motion, evidence related to contentious political issues, such as immigration, the

Black Lives Matter movement, religion, politically-charged regions within the United States, and

references to U.S. political parties has the potential to inflame the jury’s passions and could result

in creating bias against Concord. Moreover, many of the advertisements and posts on the

government’s exhibit list related to these issues are dated after the 2016 election and none of it is

relevant to a conspiracy to defraud three specific government agencies.




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        5.     The Government Should Be Precluded From Offering Evidence Or Argument
               that Concord And Other Defendants Violated The FEC’s Foreign National
               Expenditure Restrictions

        In seeking to introduce evidence that Defendants violated the FEC’s restrictions on election

expenditures by foreign nationals, the government once again attempts to cram as many uncharged

crimes as possible into this prosecution. While the Indictment alleges certain activities that could

be construed as a violation of the restrictions on foreign election expenditures, the government has

not charged that conduct as a crime. If that evidence were introduced, the jury’s attention would

be diverted to allegedly criminal activities that are not charged in this case and which are not

probative to the conspiracy charge that the government is attempting to prove. The jury would

“undoubtedly lose sight of what is important to this case.” United States v. Libby, 467 F. Supp. 2d

1, 18 (D.D.C. 2006) (excluding portions of classified documents containing notes taken by the

defendant at various meetings because the abundance of information “would mislead and confuse

the jury”). The government’s case should be focused on what it actually needs to prove, that

Defendants conspired to defraud the United States by impairing, obstructing, or defeating the

lawful functions of the Federal Election Commission, Department of Justice, and Department of

State. Anything beyond that is superfluous, and will serve no purpose other than to confuse the

jury.

                                         CONCLUSION

        Based on the foregoing, the Court should exercise its discretion and grant Concord’s

motion in limine in its entirety.

 Dated: January 28, 2019                              Respectfully submitted,

                                                      CONCORD MANAGEMENT
                                                      AND CONSULTING LLC

                                                By: /s/ Eric A. Dubelier
                                                    Eric A. Dubelier (D.C. Bar No. 419412)
                                                    Katherine J. Seikaly (D.C. Bar No. 498641)

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